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                  UNITED STATES DISTRICT COURT
                   DISTRICT OF NORTH DAKOTA

UNITED STATES OF AMERICA, )
                             )                MOTION REGARDING
                  Plaintiff, )                JURY QUESTIONNAIRES
                             )
     - vs -                  )
                             )
RED FAWN FALLIS,             )               Case No. 1:17-cr-00016-DLH-01
                             )
             Defendant.      )

      The Defendant, RED FAWN FALLIS, by and through her attorneys, hereby

requests that the Court permit examination of the juror questionnaires by Diane

Wiley, defense jury consultant.

      In support of this request, Ms. Fallis says:

      1.     She was charged herein by way of Complaint on November 9, 2016

and thereafter indicted on January 5, 2017. [Docket entries # 1 and 25; hereinafter,

Dkt. ___] The case is set for trial by jury on January 29, 2018.

      2.     On January 9, 2018, the Court provided counsel with 141

questionnaires of prospective jurors to review and ordered that the questionnaires

not be disseminated to “outsiders”. [Dkt. 193]

      3.     On January 10, 2018, the Court entered an Order Regarding Response

Dates [Dkt 195] that required the parties to respond regarding the jury

questionnaires on or before January 15, 2018.

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      4.     Defense counsel seek permission of the Court to enlist the assistance

of Diane Wiley in reviewing the jury questionnaires. Diane Wiley is the President

of the National Jury Project, Mid-West Region, and previously provided her expert

opinion to the Court in support of the defendant’s Motion for Change of Venue.

[Dkt.63, Ex. 2] She has agreed to personally review a portion of the questionnaires,

not share them with any other individual, provide her opinions only to counsel

herein and dispose of the questionnaires thereafter. She would be acting as a

member of the defense team and subject to the confidentiality restrictions imposed

by the Court.

      5.     The assistance of Diane Wiley in reviewing the questionnaires would

be invaluable to the defense as defense counsel are presently preparing a Reply to

the Government’s Response to the Motion to Dismiss, which Reply is due on

January 15, 2018 and are also reviewing a large amount of discovery recently

received from the government in preparation for the upcoming trial date.

      6.     The undersigned advised the government that the defense would be

making this request, but makes no representation as to the government’s position.

      WHEREFORE, Ms. Fallis respectfully requests that the Court allow the

defense to enlist the services of jury consultant Diane Wiley in reviewing the jury

questionnaires herein, granting her such further relief as may be just and proper in

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the premises.

Dated this 11th day of January, 2018.

Respectfully submitted:

 /s/ Bruce Ellison                       /s/ Jessie A. Cook
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                 Attorneys for Red Fawn Fallis



                          CERTIFICATE OF SERVICE

      The undersigned Counsel of Record for the defendant hereby certifies that a

true and accurate copy of the above and foregoing document has been

electronically served on the Office of the United States Attorney this 11th day of

January 2018. Parties may access this filing through the Court’s system.

                                              /s/ Jessie A. Cook
                                              Jessie A. Cook

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